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Hall, Kathie (USAOKN)

From: Hall, Kathie (USAOKN)

Sent: Friday, October 16, 2009 3:58 PM

To: ‘Oscar Stilley’

Cc: O'Reilly, Charles A. (TAX); Snoke, Ken (USAOQKN)
Subject: Additional Discovery

Mr. Stilley

lam sending, via Fed-ex, a CD of additional discovery documents. The
package should arrive at the Western District of Arkansas United States
Attorney's Office sometime Monday morning. Please contact Legal
Assistant Karen Gentry to check on package delivery before driving over.
If you have any questions, please call.

Thank you.

Kathie M. Hall, ACP

Legal Assistant, Criminal Division
UNITED STATES ATTORNEY'S OFFICE
110 West Seventh Street, Suite 300
Tulsa, Oklahoma 74119
918.382.2700 X3338

918.560.7954 Fax

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Hall, Kathie (USAOKN)

From: Hall, Kathie (USAOKN)

Sent: Friday, October 16, 2009 4:00 PM

To: ‘Lindsey Springer’

Ce: O'Reilly, Charles A. (TAX); Snoke, Ken (USAOKN}
Subject: Additional Discovery

Mr. Springer

A CD with additional discovery materials is ready for you to pick up. The
materials may be picked up on our 3” floor reception area, at the United
States Attorney’s Office, 110 West Seventh, Suite 300, Tulsa, OK. tt you
have any questions, please call.

Thank you.

Kathie M. Hall, ACP

Legal Assistant, Criminal Division
UNITED STATES ATTORNEY'S OFFICE
110 West Seventh Street, Suite 300
Tulsa, Oklahoma 74119
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